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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF VIRGINIA                           November 19, 2024
                                                                             LAURA A. AUSTIN, CLERK
                         HARRISONBURG DIVISION
                                                                               BY: s/J.Vasquez
 SAMUEL JOSEPH ORLANDO,           )
                                  )
     Plaintiff,                   ) Case No. 5:22-cv-062
                                  )
 v.                               ) By: Michael F. Urbanski
                                  ) Senior United States District Judge
 SHERIFF DONALD L. SMITH, et al., )
                                  )
     Defendants.                  )

                             MEMORANDUM OPINION

       In this civil rights action brought under 42 U.S.C. § 1983, plaintiff Samuel Orlando

alleges that Donald Smith, Sheriff of Augusta County, and Major Brian Jenkins, an employee

of the Augusta County Sheriff’s Office, obtained and executed a search warrant in violation

of the First and Fourth Amendments of the United State Constitution. Orlando also alleges

that Smith and Jenkins conspired with Rebecca Neal and Bristol Neal (“the Neals”) to violate

the Fourth Amendment. Orlando raises other common law and Virginia statutory causes of

action against Smith, Jenkins, and the Neals.

       Smith and Jenkins filed a motion to dismiss challenging the sufficiency of Orlando’s

allegations. After considering the briefing and oral argument on the motion to dismiss, the

court concludes that Orlando’s Fourth Amendment claims, Counts I, II, and VIII, must be

dismissed. The motion to dismiss will be denied as to Count III, Orlando’s First Amendment

retaliation claim. This memorandum opinion also addresses Orlando’s state law claims, Counts

VII, X, XI, XII, XIII, and XIV, which are all dismissed. Orlando’s claims against the Neals




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alone, Counts IV, V, VI, and IX, were severed from this case and are proceeding in a separate

lawsuit. Order, ECF No. 40; see also Orlando v. Neal et al., No. 5:23-cv-012.

                                                         I.

        Orlando alleges that he has been an outspoken critic of Smith’s conduct as Augusta

County Sheriff, and Orlando’s claims concern various ways in which Smith and Jenkins are

alleged to have retaliated against him. Compl., ECF No. 1, ¶¶ 29-56. Orlando claims to be the

victim of sexual abuse at the hands of Bristol Neal and that the Augusta County Sheriff

declined to investigate Orlando’s complaints against Bristol Neal. Id. ¶¶ 57-78, 127-33.

Instead, Orlando claims that Smith and Jenkins, acting on complaints lodged by the Neals that

Bristol Neal had been sexually abused by Orlando’s guardians, Richard Moore and Micheal

Donovan, applied for and obtained search warrants from a state magistrate authorizing

searches of 47 South Windsong Court, the house where Orlando resided with his guardians,

and of 113 Mill Place Parkway, the commercial complex housing the offices of Nexus

Commercial Ventures LLC, a business affiliated with Moore and Donovan. Id. ¶¶ 79-81, 167.

The warrants specifically sought evidence, such as computer files, video surveillance footage,

and sex toys, relating to a violation of Virginia Code § 18.2-370.1: “Taking indecent liberties

with child by person in custodial or supervisory relationship.” 47 South Windsong Court

Search Warrant, ECF No. 108-1 at 1, 3; 113 Mill Place Parkway Search Warrant, ECF No.1-

8, at 1.1


1 In ruling on a motion to dismiss, the court may consider documents intrinsic to the complaint. The court may

“consider documents that are explicitly incorporated into the complaint by reference, and those attached to the
complaint as exhibits.” Goines v. Valley Cmty. Servs. Bd., 822 F.3d 159, 166 (4th Cir. 2016) (citing Tellabs, Inc.
v. Makor Issues & Rights., Ltd., 551 U.S. 308, 322 (2007) and Fed. R. Civ. P. 10(c)). The court may also rely on
“pertinent documents that a plaintiff fails to attach to the complaint if a defendant has attached them to a
motion to dismiss, especially if a plaintiff has referred to the document in the complaint . . . without converting


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        Orlando claims that the Fourth Amendment was violated in two respects. In Count I,

Orlando claims that he was unconstitutionally seized because he was handcuffed for several

hours during the search at 47 South Windsong Court.2 Compl., ECF No. 1, ¶¶ 184-86. In

Count II, Orlando claims that the search warrant affidavit authored by Jenkins was

constitutionally deficient because it contained a materially false statement of Orlando’s age

relative to that of Bristol Neal, despite Smith allegedly knowing Orlando’s actual age. Id. ¶¶

193-94.

        In Count III, Orlando alleges that during the search, “[t]he deputies seized large

quantities of protest materials, seizures that can only be described as motivated by animus

toward the political messaging of the materials.” Id. ¶ 200. Orlando claims that this seizure of

materials beyond the scope of the warrant was retaliation against him for protected First

Amendment activity. Id. ¶ 199.

        Counts IV, V, VI, and IX, containing allegations of sexual misconduct solely against

the Neals, are unrelated to the search warrant at issue in this case and have been severed from

this action to proceed as a separate lawsuit. Order, ECF No. 40.




the motion to dismiss into a motion for summary judgment.” Hoffman v. Daimler Trucks N. Am., LLC, 940
F. Supp. 2d 347, 354 (W.D. Va. 2013) (citing Davis v. George Mason Univ., 395 F. Supp. 2d 331, 335 (E.D.
Va. 2005), aff’d, 193 F. App’x 248 (4th Cir. 2006), and 5A Charles A. Wright & Arthur P. Miller, Federal Practice
and Procedure § 1327 (3d ed. 2012)). However, the court may only do so if “the document was integral to the
complaint and there is no dispute about the document’s authenticity.” Goines, 822 F.3d at 166 (citing Sec’y of
State for Defence v. Trimble Nav. Ltd., 484 F.3d 700, 705 (4th Cir. 2007); Am. Chiropractic Ass’n v. Trigon
Healthcare, Inc., 367 F.3d 212, 234 (4th Cir. 2004); and Phillips v. LCI Int’l, Inc., 190 F.3d 609, 618 (4th Cir.
1999)).
2 Orlando alleges that “[d]uring the execution of the Warrant, deputies from Defendant SHERIFF SMITH’s

office removed Plaintiff SAMUEL ORLANDO from the Residence, secured him with handcuffs, and kept
him sitting in the back of a police car in the Residence’s cul-de-sac for more than five (5) hours.” Compl., ECF
No. 1, ¶ 180. Alternatively, paragraph 186 alleges that “[t]he Sheriff’s office deputies kept Plaintiff SAMUEL
ORLANDO hand-cuffed for more than four (4) hours.” Id. ¶ 186.


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       In Count VII, Orlando seeks actual damages pursuant to Virginia Code § 9.1-135

arising out of Jenkins’ filing of the Affidavit for Search Warrant, alleging that the affidavit

contains “juvenile delinquency investigative and hearing information,” Compl., ECF No. 1, ¶

228, and that Smith and Jenkins “knew or should have known that the juvenile records were

protected and were not permitted to be disclosed.” Id. ¶ 229.

       Count VIII alleges a §1983 conspiracy by Smith, Jenkins, and the Neals to violate the

Fourth Amendment by searching 47 South Windsong Court and 113 Mill Place Parkway,

“which led to the seizure of Plaintiff SAMUEL ORLANDO’s personal property without

probable cause (i.e., based on false pretenses).” Id. ¶¶ 236, 240.

       Count X alleges intentional infliction of emotional distress against Smith and the Neals,

alleging that they “intended to create a false affidavit to support a criminal investigation of

Plaintiff SAMUEL ORLANDO, which began with the creation of the Affidavit that led to

the Warrant.” Id. ¶ 250. Count XI alleges negligent infliction of emotional distress against

Smith, Jenkins, and the Neals for participating in the criminal investigation without

“sufficiently investigat[ing] the allegations” that Bristol Neal, not Orlando, was the victim of

sexual abuse. Id. ¶ 258.

       Count XII contains a stand-alone claim for punitive damages against Smith for his

“pursuit of unfounded criminal charges and a potential criminal investigation of Plaintiff

SAMUEL ORLANDO in retribution for Plaintiff SAMEUL ORLANDO’s protected exercise

of his First Amendment rights.” Id. ¶ 265.

       In Count XIII, Orlando alleges that Smith committed defamation per se when he

“published the Affidavit supporting the Warrant with local news organizations in Virginia,”



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id. ¶ 267, either knowing that the allegations of sexual abuse by Orlando were false or recklessly

disregarding the truth or falsity of the allegations, id. ¶¶ 268-84.

       Finally, Count XIV alleges a civil conspiracy under Virginia Code §§ 18.2-499 and 500

against Smith and Jenkins, asserting that they “conspired together to mutually benefit the

parties,” and in so doing, “lied about the age of Plaintiff SAMUEL ORLANDO, a juvenile

sex assault victim, and publicly identified that juvenile victim as an alleged child molester.” Id.

¶¶ 287-88.

                                                     II.

       A motion to dismiss pursuant to Rule 12(b)(6) tests the sufficiency of the complaint.

Edwards v. City of Goldsboro, 178 F.3d 231, 243 (4th Cir. 1999). To survive a motion to

dismiss, “a complaint must contain sufficient factual matter, accepted as true, to state a claim

to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quotation

omitted). “A claim has facial plausibility when the plaintiff pleads factual content that allows

the court to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Id. “But where the well-pleaded facts do not permit the court to infer more than the

mere possibility of misconduct, the complaint has alleged—but it has not ‘shown’—that the

pleader is entitled to relief.” Id. at 679; see also Simmons v. United Mortg. & Loan Inv., 634

F.3d 754, 768 (4th Cir. 2011) (“On a Rule 12(b)(6) motion, a complaint must be dismissed if

it does not allege enough facts to state a claim to relief that is plausible on its face.”) (internal

quotations and emphasis omitted).

       A court must consider all well-pleaded allegations in a complaint as true and construe

them in the light most favorable to the plaintiff. Wikimedia Found. v. Nat’l Sec. Agency, 857



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F.3d 193, 208 (4th Cir. 2017). Nevertheless, a court is not required to accept as true “a legal

conclusion couched as a factual allegation,” Papasan v. Allain, 478 U.S. 265, 286 (1986);

conclusory allegations devoid of any reference to actual events, United Black Firefighters of

Norfolk v. Hirst, 604 F.2d 844, 847 (4th Cir. 1979); or “allegations that are merely conclusory,

unwarranted deductions of fact or unreasonable inferences,” Veney v. Wyche, 293 F.3d 726,

730 (4th Cir. 2002) (internal quotation marks omitted).

                                                    III.

       Section 1983 is “a vehicle for vindicating preexisting constitutional and statutory

rights.” Safar v. Tingle, 859 F.3d 241, 245 (4th Cir. 2017). The statute provides that a person

acting under color of state law who “subjects, or causes to be subjected, any citizen of the

United States . . . to the deprivation of any rights, privileges, or immunities secured by the

Constitution and laws, shall be liable to the party injured.” 42 U.S.C. § 1983.

       To prevail on a claim for a civil rights violation under Section 1983, a plaintiff must

establish (1) that he has been deprived of a right, privilege or immunity secured by the

Constitution or laws of the United States and (2) that the conduct about which he complains

was committed by a person acting under color of state law. Dowe v. Total Action Against

Poverty in Roanoke Valley, 145 F.3d 653, 658 (4th Cir. 1998).

       The doctrine of qualified immunity affords protection against Section 1983 liability to

officials insofar as their conduct does not violate clearly established statutory or constitutional

rights of which a reasonable person would have known. Pearson v. Callahan, 555 U.S. 223,

231 (2009) (quoting Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982)). Stated another way,

“[q]ualified immunity protects officials ‘who commit constitutional violations but who, in light



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of clearly established law, could reasonably believe that their actions were lawful.’” Booker v.

South Carolina Dep’t of Corr., 855 F.3d 533, 537-38 (4th Cir. 2107) (citing Henry v. Purnell,

652 F.3d 524, 531 (4th Cir. 2011) (en banc)). The doctrine weighs the need to hold public

officials accountable for irresponsible exercise of power against the need to shield officials

from harassment, distraction, and liability when they perform their duties responsibly. Booker,

855 F.3d at 538 (citing Pearson, 555 U.S at 231).

       In performing a qualified immunity analysis, a court must first determine the specific

right under federal law that the plaintiff alleges was infringed by the challenged conduct. Id.

(citing Winfield v. Bass, 106 F.3d 525, 530 (4th Cir. 1997) (en banc)). The court then must ask

whether a violation of that right occurred and, if so, whether, at the time of the violation, the

right at issue was clearly established. Id. The questions need not be asked in a particular order.

Id. (citing Melgar ex rel. Melgar v. Greene, 593 F.3d 348, 353 (4th Cir. 2010), and Pearson,

555 U.S. at 236). In this circuit, the plaintiff bears the burden of showing that a constitutional

violation occurred, while the defendant bears the burden of showing entitlement to qualified

immunity. Henry v. Purnell, 501 F.3d 374, 377 (4th Cir. 2007).

                                                    IV.

       In Count I, Orlando alleges that the Fourth Amendment was violated because he was

handcuffed outside his 47 South Windsong Court residence for more than four hours “during




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the search.” Compl, ECF No. 1, ¶ 185. 3 Specifically, Orlando alleges that his handcuffing

constituted an “unreasonable detention.” Id. ¶ 189.4

        The Fourth Amendment protects the right to be free from unreasonable seizures. Unus

v. Kane, 565 F.3d 103, 119 (4th Cir. 2009). However, “[t]he test of reasonableness under the

Fourth Amendment is not capable of precise definition or mechanical application.” Bell v.

Wolfish, 441 U.S. 520, 559 (1979). As the Supreme Court explained in Graham v. Connor,

assessing reasonableness is an objective inquiry that “requires careful attention to the facts and

circumstances of each particular case.” 490 U.S. 386, 396 (1989). For example, in Graham

itself, the Court required the lower court to apply the objective reasonableness standard in a

case examining whether police had used excessive force by handcuffing a plaintiff whom they

refused to help even as he attempted to explain that he was diabetic and needed assistance. Id.

Graham established factors guiding the reasonableness inquiry in the excessive force context,

including the severity of the crime at issue, whether a suspect poses an immediate threat, and

whether a suspect is attempting to evade arrest by flight. Id.

        In Michigan v. Summers, the Court considered Fourth Amendment reasonableness in

the distinct context of detaining an occupant of the premises to be searched during a search.

452 U.S. 692, 705 (1981). The Court held that “a warrant to search for contraband founded


3 Elsewhere in the complaint, Orlando alleges that he was handcuffed for more than five hours “[d]uring the
execution of the Warrant.” Compl., ECF No. 1, ¶ 180.
4 Handcuffing sometimes gives rise to excessive force claims as well as unreasonable detention claims. Both

types of claims are evaluated under an objective reasonableness standard, Unus v. Kane, 565 F.3d 103, 120 (4th
Cir. 2009), though some courts have concluded that “detention in tight handcuffs does not amount to excessive
force without a showing of significant physical harm.” Pair v. Burroughs, No. 3:15-cv-776, 2016 WL 7197389,
at *7-8 (E.D. Va. Dec. 9, 2016); see also Deavers v. Vasquez, 57 F. Supp. 3d 599, 608 (E.D. Va. 2014) (granting
summary judgment because the plaintiff failed to show significant physical injury where only claims were that
handcuffing caused bruising and aggravated existing rotator cuff injuries); Cooper v. City of Virginia Beach,
817 F. Supp. 1310, 1319 (E.D. Va. 1993), aff’d, 21 F.3d 421 (4th Cir. 1994) (granting summary judgment to
defendants where plaintiff offered no allegations or proof of lasting injuries caused by handcuffing).


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on probable cause implicitly carries with it the limited authority to detain the occupants of the

premises while a proper search is conducted.” Id. The Court also considered other factors

justifying detention during the execution of a search warrant, such as the legitimate law

enforcement interest in preventing flight, minimizing the risk of harm to the officers executing

the search, and the orderly facilitation of the search. Id. at 701-04. Although the Court in

Summers found the detention there to be reasonable, the Court noted that “special

circumstances, or possibly a prolonged detention, might lead to a different conclusion in an

unusual case.” Id. at 705 n.21.

       In Muehler v. Mena, the Court merged the insights of Graham and Summers to uphold

the use of handcuffs to detain a resident of the premises being searched pursuant to a warrant,

explaining:

              Inherent in Summers’ authorization to detain an occupant of the
              place to be searched is the authority to use reasonable force to
              effectuate the detention. See [Graham, 490 U.S. at] 396 (“Fourth
              Amendment jurisprudence has long recognized that the right to
              make an arrest or investigatory stop necessarily carries with it the
              right to use some degree of physical coercion or threat thereof to
              effect it”). Indeed, Summers itself stressed that the risk of harm
              to officers and occupants is minimized “if the officers routinely
              exercise unquestioned command of the situation.” 452 U.S. at
              703.

544 U.S. 93, 98-99 (2005). The Court also rejected Mena’s argument that the duration of the

handcuffing was constitutionally unreasonable, concluding as follows:

              The duration of a detention can, of course, affect the balance of
              interests under Graham. However, the 2- to 3-hour detention in
              handcuffs in this case does not outweigh the government’s
              continuing safety interests. As we have noted, this case involved
              the detention of four detainees by two officers during the search
              of a gang house for dangerous weapons. We conclude that the
              detention of Mena in handcuffs during the search was reasonable.


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Id. at 100. Thus, Summers authorizes officers to detain occupants of the premises to be

searched during the search. And Mena authorizes officers to use reasonable force, including

handcuffs, to effectuation the detention—at least for a period of several hours where safety

interests are at stake.

       Following Summers and Mena, the Fourth Circuit had occasion to address the use of

handcuffs during the execution of a search warrant in Unus v. Kane. 565 F.3d at 103. Unus

concerned the execution of a search warrant seeking financial records, not the dangerous

weapons or persons involved in Mena. Id. at 119 n. 22. However, the Fourth Circuit found

the decision to initially handcuff plaintiffs reasonable based on “legitimate safety concerns,”

as the agents were searching a “residence believed to contain evidence of money laundering

by entities suspected of assisting international terrorism.” Id. at 120. The court explained that

“[v]iewed objectively, the agents did not know whether they would be confronted by

resistance” and agents indeed “encountered hectic conditions.” Id. Moreover, the Fourth

Circuit concluded that, in part because the case was “‘terrorism-related’” and agents reported

that plaintiffs had behaved strangely at the time of entry, “it was not unreasonable for the

federal agent defendants to keep the plaintiffs detained in handcuffs for nearly four hours.”

Id.

       Thus, under Fourth Circuit precedent, a handcuffed detention of approximately four

hours is constitutionally reasonable where justified based on the circumstances of the search.

And circumstances other than allegations of terrorism have been held to justify prolonged

detention in handcuffs. For example, in Pair v. Burroughs, a district court in this circuit

concluded that officers acted reasonably in handcuffing a suspect where the officers “worried


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that [the suspect] could use a remote device to delate the electronically stored information

sought in the search warrant.” No. 3:15-cv-776, 2016 WL 7197389, at *8-9 (E.D. Va. Dec. 9,

2016). Preventing the destruction of electronic records may therefore also justify handcuffing

an occupant of a residence during a search.

       However, although courts have routinely deemed handcuffing for several hours to be

reasonable, the Fourth Circuit has “never held that using handcuffs is per se reasonable.” E.W.

v. Dolgos, 884 F.3d 172, 180 (4th Cir. 2018). As one court put it, “inherent in [Summers and

Mena] is the principle that the circumstances and manner of a warrant-based detention

matter.” Hutchinson v. West Va. State Police, 731 F. Supp. 2d 521, 537, 542-44 (S.D. W. Va.

2010) (denying summary judgment on unreasonable detention claim and concluding that there

was a clearly established “right not to be forced to be nude for 30 to 45 minutes, while police

officers conduct a warrant-based search of one’s home”). For example, in E.W. v. Dolgos, the

Fourth Circuit held that a school resource officer’s handcuffing of a calm, compliant

elementary school student was unreasonable, E.W., 884 F.3d at 184, though the court

ultimately concluded that the officer had qualified immunity, id. at 186.

       Thus, the question here is whether the particular circumstances alleged give rise to a

plausible claim that Orlando’s handcuffing for four or five hours was objectively unreasonable.

Summers makes it clear that the resident of a home to be searched pursuant to a valid search

warrant may be detained, and Graham and Mena authorize the use of handcuffs to minimize

the risk of harm to both officers and occupants. Mena and Unus both hold that it was not

objectively unreasonable under the facts of those cases to handcuff a resident for the duration

of a search for several hours, two to three in Mena and nearly four in Unus. But while Mena



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involved a search for guns and Unus involved a search for financial records connected to

international terrorism, Orlando alleges “the absence of any threat to the deputies’ safety or

to the integrity of the search.” Compl., ECF No. 1, ¶ 188. Still, there may have been some risk

in this case that the electronic records sought would be destroyed during the search, as was

the case in Pair v. Burroughs. 2016 WL at *8-9. This case is not like those cases where courts

have allowed unreasonable detention claims to proceed, as there are no allegations here that

the manner of handcuffing was particularly degrading, Hutchinson, 731 F. Supp. 2d at 44, or

unique factors like the age of the detainee or the school setting at issue in E.W., 884 F.3d at

184.5 Under these circumstances, Orlando’s handcuffing for four to five hours likely was not

objectively unreasonable in violation of the Fourth Amendment.

        Nevertheless, because the unreasonable detention case law is fact-dependent and this

case does not entail the kinds of clear safety concerns at issue in Mena and Unus, the court

will consider the second prong of the qualified immunity analysis, which asks whether the right

alleged to have been violated was clearly established at the time of the violation. Booker, 855

F.3d at 538. The Supreme Court has explained that a constitutional right is clearly established

if “its contours [are] sufficiently clear that a reasonable official would understand that what he

is doing violates that right.” Hope v. Pelzer, 536 U.S. 730, 739 (2002). “To determine whether

a right is clearly established, [courts typically] assess whether the law has been authoritatively

decided by the Supreme Court, the appropriate United States Court of Appeals, or the highest

court of the state.” Wilson v. Prince George’s Cnty., 893 F.3d 213, 221 (4th Cir. 2018). When

“there are no such decisions from courts of controlling authority, [courts] may look to a


5 Orlando was 19 when the search warrant was executed. Compl., ECF No. 1, ¶¶ 1, 6.




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consensus of cases of persuasive authority from other jurisdictions, if such exists.” Booker v.

S.C. Dep’t of Corr., 855 F.3d 533, 538-39 (4th Cir. 2017). “Either way, these sources must

have placed the statutory or constitutional question beyond debate.” Sharpe v. Winterville

Police Dep’t, 59 F.4th 674, 683 (4th Cir. 2023). Although a previous case directly on point is

not required, id., “[t]he precedent must be clear enough that every reasonable official would

interpret it to establish the particular rule the plaintiff seeks to apply,” District of Columbia v.

Wesby, 583 U.S. 48, 63 (2018).

       Here, far from clearly establishing that a four to five-hour detention in handcuffs is

unreasonable, Supreme Court and Fourth Circuit authority provides a reasonable officer

grounds for reassurance that Orlando’s detention under the alleged circumstances was

reasonable. Summers authorizes the detention of persons located at a residence to be searched;

Mena authorizes the use of handcuffs for a person detained; and Mena and Unus allow officers

to employ handcuffs for several hours. Admittedly, Fourth Amendment reasonableness is

frequently a fact-specific inquiry, Graham, 490 U.S. at 396, and comparing the warrant here

seeking electronic records with the warrant in Mena seeking dangerous weapons, or indeed

comparing the sexual abuse alleged here to the money laundering in relation to terrorism at

issue in Unus, is an imprecise exercise. However, qualified immunity does not require a case

on point negating the existence of a right; the doctrine instead protects against liability except

where there is precedent clearly confirming the existence of the right. As such, even if

Orlando’s detention in handcuffs is considered to be constitutionally unreasonable, qualified

immunity shields Smith and Jenkins from Fourth Amendment liability for Orlando’s detention

in handcuffs as alleged in Count I.



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                                               V.

       In Count II, Orlando alleges that Smith and Jenkins lacked probable cause to seek the

search warrant because the warrant application incorrectly stated Orlando’s and Bristol Neal’s

relative ages. Compl., ECF No. 1, ¶ 164. Orlando claims that Smith knew his actual age and

either deliberately or with reckless disregard for the truth caused Jenkins to make a materially

false statement. Id. ¶¶ 193-94.

       Generally, there is “a presumption of validity with respect to the affidavit supporting

[a] search warrant.” Franks v. Delaware, 438 U.S. 154, 171 (1978). However, in Franks, the

Supreme Court established that the Warrant Clause of the Fourth Amendment provides

limited safeguards for ensuring probable cause is based on a “‘truthful showing’”—not in the

sense that “every fact recited in the warrant affidavit is necessarily correct,” but in the sense

that “the information put forth is believed or appropriately accepted by the affiant as true.”

Id. at 164-65. Specifically, in Franks, the Court held:

               [W]here the defendant makes a substantial preliminary showing
               that a false statement knowingly and intentionally, or with
               reckless disregard for the truth, was included by the affiant in the
               warrant affidavit, and if the allegedly false statement is necessary
               to the finding of probable cause, the Fourth Amendment requires
               that a hearing be held at the defendant’s request.

Id. at 155-56 (1978). Notably, the safeguards of Franks are limited such that “if, when material

that is the subject of the alleged falsity or reckless disregard is set to one side, there remains

sufficient content in the warrant affidavit to support a finding of probable cause, no hearing

is required.” Id. at 171-72.

       In the context of claims for civil liability based on dishonest affidavits, the Fourth

Circuit applies Franks’ requirement that the false statements or omissions be “necessary” to


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the “finding of probable cause.” Miller v. Prince George’s County, 475 F.3d 621, 628 (4th Cir.

2007) (citing Franks, 438 U.S. at 155-56). To determine whether false statements are material

to the existence of probable cause, the court should “‘excise the offending inaccuracies and

insert the facts recklessly omitted, and then determine whether or not the “corrected” warrant

affidavit would establish probable cause.’” Id. (quoting Wilson v. Russo, 212 F.3d 781, 789

(3d Cir. 2000)). “If the ‘corrected’ warrant affidavit establishes probable cause, no civil liability

lies against the officer.” Id.

       The question here is thus whether the warrant for 47 South Windsong Court would

still be rooted in probable cause if the portion containing an alleged falsity as to Orlando’s age

were excised. On page three of the affidavit, Jenkins recounts some information about the

intimate relationship between Orlando and Bristol Neal, stating that “[t]heir relationship

occurred in Illinois and Virginia and ended when BN turned 16 and Orlando was about to

turn 19.” 47 South Windsong Court Search Warrant, ECF No. 108-1 at 10. Orlando alleges

that this sentence was materially false in that Jenkins erroneously transposed his age with that

of Bristol Neal. Compl., ECF No. 1, ¶ 164. Orlando further alleges that Smith knew Orlando’s

actual age and, as such, he knew that the portion of the Application for Search Warrant

mentioning Orlando and Bristol Neal’s relative ages was either deliberately false or the product

of reckless disregard for the truth. Id. ¶¶ 192-94. However, even if these allegations

demonstrate the requisite “‘high degree of awareness of [a statement’s] probable falsity,’”

Miller, 475 F.3d at 627 (quoting Wilson, 212 F.3d at 788), which is itself less than plausible as

it was allegedly Smith who knew Orlando’s age but Jenkins who drafted the affidavit, the

misstatement of Orlando’s age was immaterial to the existence of probable cause.



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        Jenkins’ search warrant affidavit, which begins on the warrant form and continues on

for four single spaced pages, contains plentiful support for probable cause unrelated to

Orlando or his age.6 The bulk of Jenkins’ affidavit concerns Bristol Neal’s allegations that

Moore and Donovan molested him while he was a minor. The affidavit states that Bristol

Neal’s mother “RBN reported that her son, BN, had told her that he was sexually abused in

Las Vegas, Nevada by Richard Moore in March of 2018 at the age of 16. The abuse continued

in Virginia for one and a half years.” 47 South Windsong Court Search Warrant, ECF No.

108-1 at 9. The affidavit continues to provide details from Bristol Neal of the sexual abuse he

allegedly encountered from Moore and Donovan at their 47 South Windsong Court residence

and elsewhere. Id. at 8-11. In short, while the affidavit may have gotten the relative ages of

Bristol Neal and Orlando wrong, that error does nothing to undercut the substantial

information in the affidavit about Moore and Donovan’s alleged abuse of Bristol Neal. Clearly,

even if the information concerning Orlando’s age is excised, the affidavit provides probable

cause to support issuance of the search warrant. Thus, Orlando has not stated a claim for civil

liability under Franks and Miller as to Count II. Because there was plainly no constitutional

violation, there is no need to consider qualified immunity.




6 Probable  cause “is not a high bar.” Kaley v. United States, 571 U.S. 320, 338 (2014). Probable cause “deals
with probabilities and depends on the totality of circumstances.” Maryland v. Pringle, 540 U.S. 366, 371 (2003).
Probable cause “‘requires only a probability or substantial chance of criminal activity, not an actual showing of
such activity.’” Wesby, 583 U.S. at 57 (quoting Illinois v. Gates, 462 U.S. 213, 243-44 n. 13 (1983)). Probable
cause requires more than a bare suspicion, but less than that evidence needed to convict. Spivey v. Norris, 731
F. App’x 171, 175-76 (4th Cir. 2018) (citing United States v. Gray, 137 F.3d 765, 769 (4th Cir. 1998)).



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                                                    VI.

       In Count III, Orlando alleges that Smith and Jenkins retaliated against Orlando for

exercising his First Amendment rights by seizing “large quantities of protest materials” during

the search of 47 South Windsong Court. Compl., ECF No. 1, ¶ 199. Orlando alleges that this

seizure was “motivated by animus toward the political messaging of the materials.” Id. ¶ 200.

       To state a Section 1983 claim based on First Amendment retaliation, “a plaintiff ‘must

allege that (1) []he engaged in protected First Amendment activity, (2) the defendant[] took

some action that adversely affected [his] First Amendment rights, and (3) there was a causal

relationship between [his] protected activity and the defendant[’s] conduct.’” Martin v. Duffy,

858 F.3d 239, 249 (4th Cir. 2017) (quoting Constantine v. Rectors & Visitors of George Mason

Univ., 411 F.3d 474, 499 (4th Cir. 2005)).

       As to the first prong, Orlando alleges that “criticizing an elected Sheriff accused of

criminal activity is Constitutionally protected speech.” Compl., ECF No. 1, ¶ 199. The

complaint details Orlando’s history as a “political, social-justice, and police-accountability

activist;” Orlando’s political activities have included engaging in protests against the Sheriff’s

Office, maintaining a “website specifically criticizing [Sheriff Smith],” and litigating several

actions against Smith. Id. ¶¶ 29-39. Protests, websites, and other advocacy are unambiguously

speech protected by the First Amendment. See Snyder v. Phelps, 562 U.S. 443, 451-52 (2011)

(quoting Connick v. Myers, 461 U.S. 138, 145 (1983)) (protecting controversial protest speech

and noting that “‘speech on public issues occupies the highest rung of the hierarchy of First

Amendment values, and is entitled to special protection’”). Thus, Orlando has plausibly alleged

that he engaged in protected First Amendment activity.



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       As to the second prong, Orlando alleges that Smith and Jenkins took adverse action

against his First Amendment rights by seizing his possessions used in his protected speech

while executing an unrelated search warrant. The warrant for 47 South Windsong Court sought

to recover sex toys and electronic evidence of charges against Moore and Donovan of “taking

indecent liberties with [a] child by [a] person in [a] custodial or supervisory relationship.”

Compl., ECF No. 1, ¶¶ 170-72. However, during the search, Orlando alleges Sheriff Smith’s

deputies seized “hundreds of lapel stickers . . . opposing the Sheriff’s reelection to office,”

documents and “evidence” of crimes allegedly committed by Smith, “protest flyers,” and

“body cameras” used by protestors—all belonging to Orlando. Id. ¶¶ 175-79. This seizure

meets the definition of adverse action. Adverse action constituting First Amendment

retaliation is action that “would likely deter ‘a person of ordinary firmness’ from the exercise

of First Amendment rights.” Constantine, 411 F.3d at 500. Here, a “‘person of ordinary

firmness’” would likely be deterred from exercising their First Amendment rights due to both

the embarrassment of their personal property being seized and the message sent by police

seizing protest materials in particular. Id.

       Defendants argue that Orlando fails the second prong because Orlando’s exercise of

his First Amendment rights was not in fact chilled. Mem. Supp. Mot. Dismiss, ECF No. 11 at

5 (quoting Compl., ECF No. 1, ¶ 55 (alleging that Orlando “refuses to be further silenced by

corrupt law enforcement” and will continue speaking out)). However, “[a] plaintiff’s ‘actual

response to the retaliatory conduct’ is not dispositive of the question of whether such action

would likely deter a person of ordinary firmness.” Martin, 858 F.3d at 250 (quoting

Constantine, 411 F.3d at 500). Rather, “[t]he test is an objective one.” Garcia v. Montgomery



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County, 145 F. Supp. 3d 492, 515 (D. Md. 2015). Although Orlando himself may be

undeterred, seizure of protest materials is objectively likely to deter an ordinary person from

engaging in future protest activity.

       Finally, a First Amendment retaliation plaintiff must plausibly allege that a causal

connection exists between their protected First Amendment activity and the adverse action

defendants took curtailing their First Amendment rights. Here, several factors support a

sufficient causal connection to establish a prima facie claim of Frist Amendment retaliation.

First, it is telling that although the broader search of 47 South Windsong Court was conducted

pursuant to a warrant based on probable cause, the warrant did not concern protest materials.

In First Amendment retaliation cases based on retaliatory prosecutions and arrests, the

presence or absence of probable cause is often significant. The Supreme Court has held that

the existence of probable cause negates a First Amendment retaliation claim. Nieves v.

Bartlett, 587 U.S. 391, 404 (2019) (holding that a retaliatory arrest claim fails if there was

probable cause for the arrest); Hartman v. Moore, 547 U.S. 250, 256 (2006) (requiring

retaliatory prosecution plaintiffs to prove as a threshold matter that the decision to press

charges was unsupported by probable cause). At the same time, the Court has noted that

“because probable cause speaks to the objective reasonableness of an arrest, its absence will .

. . generally provide weighty evidence that the officer’s animus caused the arrest.” Nieves, 587

U.S. at 402 (citing Ashcroft v. al-Kidd, 563 U.S. 731, 736 (2011)). It is therefore illuminating

here that Orlando’s protest materials were seized despite having no connection to the

underlying warrant or accompanying affidavit, which, though detailing probable cause

justifying a search for evidence of sex crimes, did not contain anything extending probable



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cause to the seizure of protest materials. This lack of probable cause lends credence to

Orlando’s allegations of an alternative, retaliatory motive.

       Where “the plaintiff establishes the absence of probable cause,” the plaintiff must still

“show that the retaliation was a substantial or motivating factor.” Nieves, 587 U.S. at 404.

Here, the nature of the materials seized provides the requisite additional support for Orlando’s

allegation that the Sheriff’s deputies seized his protest materials in retaliation for his protest

activities. The fact that the materials seized were themselves instruments of the underlying

First Amendment activity forges an obvious connection. Freeman v. Spoljaric, 667 F. Supp.

3d 636, 663 (S.D. Ohio 2023) (relying on circumstantial evidence of retaliatory motive where

police seized a phone used as the instrument of protected First Amendment activity—

recording the police). As does the fact that the materials concerned Smith directly.

       At the motion to dismiss stage, a Fist Amendment retaliation plaintiff need only make

out a prima facie case. Id. After the plaintiff has shown that retaliation was a substantial or

motivating factor, the “defendant can prevail . . . by showing that the [adverse action] would

have been initiated without respect to retaliation.” Nieves, 587 U.S. at 399, 404 (requiring that

plaintiff’s protected activity “must be a ‘but-for’ cause, meaning that the adverse action against

the plaintiff would not have been taken absent the retaliatory motive”). For example, it may

emerge that protest materials were not, in fact, seized, or that defendants had some genuine

belief that Orlando’s protest activities were within the scope of their investigation. Baribeau v.

City of Minneapolis, 596 F.3d 465, 481 (8th Cir. 2010) (affirming summary judgment for

defendants where evidence uncovered during discovery indicated that defendants had arrested

plaintiffs based on genuine, though “unreasonable,” belief that protest conduct violated the



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law). However, at this stage, Orlando has stated a plausible prima facie claim of First

Amendment retaliation.

       Defendants are not entitled to qualified immunity on this claim because Orlando’s right

to be free from retaliation for his criticism of the police was clearly established. Once again,

in determining whether a right was clearly established, the question is “whether it would be

clear to a reasonable officer that his conduct was unlawful in the situation he confronted.”

Purnell, 652 F.3d at 534. When evaluating qualified immunity in the context of First

Amendment retaliation claims, the Fourth Circuit has defined the right at issue as the First

Amendment right the plaintiff exercised and for which he was allegedly subject to retaliation.

For example, in Tobey v. Jones, the Fourth Circuit considered a case where a plaintiff alleged

he was arrested in retaliation for displaying the text of the Fourth Amendment on his chest as

he went through airport security. 706 F.3d 379, 384 (4th Cir. 2013). The court decided

defendants were not entitled to qualified immunity by defining the right in question as the

right to “peaceful nondisruptive speech in an airport” which “cannot be suppressed solely

because the government disagrees with it.” Id. at 391. Here too, Orlando’s right to speak out

against the police without being subject to retaliation is beyond doubt. Similarly, in Trulock v.

Freeh, where a plaintiff alleged that the FBI searched his townhouse and computer in

retaliation for his writing a magazine article criticizing the FBI and other law enforcement, the

Fourth Circuit held that “[i]t is well established that a public official may not misuse his power

to retaliate against an individual for the exercise of a valid constitutional right” and that “the

First Amendment prohibits an officer from retaliating against an individual for speaking

critically of the government.” 275 F.3d 391, 405-06 (4th Cir. 2001). Thus, it would have been



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clear to a reasonable officer that Orlando’s speech criticizing the police was constitutionally

protected and that the First Amendment prohibited retaliating against Orlando by seizing his

protest materials.

        Accordingly, defendants’ motion to dismiss Count III must be denied.

                                                        VII.

        Orlando’s last Section 1983 claim, Count VIII, alleges a conspiracy to deprive Orlando

of his Fourth Amendment rights. Compl., ECF No. 1, ¶¶ 232-42. Orlando alleges that Smith

“wanted to punish Plaintiff SAMUEL ORLANDO for his political activism” and thus

interviewed the Neals, secured the search warrant for 47 South Windsong Court, and executed

the search warrant, “which led to the seizure of Plaintiff SAMUEL ORLANDO’s personal

property without probable cause (i.e., based on false pretenses).” Id. ¶¶ 233, 236, 240.7

        However, as explained in addressing Count II, there was ample probable cause to

search 47 South Windsong Court based on the allegations of sexual abuse against Moore and

Donovan described in the search warrant affidavit. Because, objectively, there was probable

cause in this case, Orlando’s claim that Smith’s subjective intent was improperly colored by

his desire to “punish” Orlando is irrelevant. Courts “eschew[] inquiries into intent” in the

Fourth Amendment context. Ashcroft, 563 U.S. at 738 (refusing to consider the “alleged

pretextual use of the warrant” and finding no Fourth Amendment violation where a warrant


7 Count VIII alleges that the search of 47 South Windsong Court was unlawful from conception to execution,

unlike Count III, which focuses on the seizure of protest materials. As discussed in regards to Count III,
Orlando has plausibly alleged that the seizure of protest materials was beyond the scope of the warrant for 47
South Windsong Court for First Amendment retaliation purposes. However, Orlando only challenges this
seizure of his protest materials on First Amendment retaliation grounds and does not appear to challenge the
seizure on Fourth Amendment grounds anywhere in the complaint, including in Count VIII. Count VIII would
not be an appropriate vehicle for challenging the seizure of Orlando’s protest materials because Orlando has
not alleged any coordination regarding that seizure.


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supported by individualized suspicion justified arrest). The Supreme Court has held that

“[s]ubjective intentions play no role in ordinary, probable-cause Fourth Amendment analysis.”

Whren v. United States, 517 U.S. 806, 813 (1996). Thus, because Orlando has not alleged a

Fourth Amendment violation based on an objective lack of probable cause, there is no need

to consider whether there has been a conspiracy to violate the Fourth Amendment or delve

further into the qualified immunity analysis, and Count VIII is dismissed for failure to state a

claim.

                                                 VIII.

         Orlando brings five claims against Smith and Jenkins under Virginia law. In Count VII,

Orlando alleges that Smith and Jenkins violated Va. Code Ann. § 9.1-135 by including juvenile

delinquency investigative and hearing information related to Orlando in the affidavit. Compl.,

ECF No. 1, ¶ 228. In Count X, Orlando alleges that Smith and Jenkins intentionally inflicted

emotional distress on Orlando by creating a false search warrant affidavit. Id. ¶ 250. In Count

XI, Orlando contends that Smith, Jenkins, and Rebecca Neal committed negligent infliction

of emotional distress in composing the affidavit. Id. ¶¶ 253-61. In Count XIII, Orlando alleges

defamation per se resulting from Smith’s publication of the affidavit to local news

organizations. Id. ¶¶ 267-84. Finally, in Count XIV, Orlando alleges that Smith and Jenkins

violated Va. Code Ann. §§ 18.2-499 and 18.2-500 by publishing the affidavit. Id. ¶¶ 285-90.

         At the outset, the court notes that Virginia’s sovereign immunity doctrine applies to

Orlando’s state law claims. In Virginia, sovereign immunity protects law enforcement officers

from liability except where the officer “acts wantonly, or in a culpable or grossly negligent

manner.” James v. Jane, 221 Va. 43, 53, 282 S.E.2d 864, 869 (1980). Gross negligence is “‘the



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absence of slight diligence or the want of even scant care.’” Colby v. Boyden, 241 Va. 125,

133, 400 S.E.2d 184, 189 (1991) (quoting Frazier v. City of Norfolk, 234 Va. 388, 393, 362

S.E.2d 688, 691 (1987)). “Willful and wanton negligence is action undertaken in conscious

disregard of another’s rights, or with reckless indifference to consequences with the defendant

aware, from his knowledge of existing circumstances and conditions, that his conduct probably

would cause injury to another.” Green v. Ingram, 269 Va. 281, 292, 608 S.E.2d 917, 923 (2005)

(quoting Woods v. Mendez, 265 Va. 68, 76-77, 574 S.E.2d 263, 268 (2003)).

       To determine whether sovereign immunity applies, Virginia courts consider the

following factors set out in James v. Jane:

               [W]e examine the function [the] employee was performing and
               the extent of the state’s interest and involvement in that function.
               Whether the act performed involves the use of judgment and
               discretion is a consideration, but it is not always determinative. .
               . . Of equal importance is the degree of control and direction
               exercised by the state over the employee . . . .

221 Va. at 53, 282 S.E.2d at 869. Virginia courts consider law enforcement officers like Smith

and Jenkins to be performing “a government function” requiring “significant judgment and

discretion” under the “administrative control” of their government “employer.” Cromartie v.

Billings, 298 Va. 284, 297, 837 S.E.2d 247, 254 (2020). Virginia courts recognize that the

government has a “clear interest in the work” police perform, particularly when they perform

core tasks like the procurement and execution of a search warrant. Id. Accordingly, Virginia

courts apply sovereign immunity to protect police defendants like Smith and Jenkins from

liability for simple negligence.

       In Count VII, Orlando alleges that the affidavit in support of the search warrant

included “juvenile delinquency investigative and hearing information,” which Orlando alleges


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violated Va. Code Ann. § 9.1-135. Compl., ECF No. 1, ¶ 228. This statute provides civil

remedies for certain statutory violations, including the unlawful dissemination of juvenile

record information. See Va. Code Ann. § 19.2-389.1; Gobble v. Va. Dep’t of State Police, No.

201503, 2021 WL 5987134, at *5 (Va. Dec. 16, 2021). The provision further states that “[t]his

section shall not be construed as a waiver of the defense of sovereign immunity.” Va. Code

Ann. § 9.1-135(B). Orlando fails to state a claim under Va. Code Ann. § 9.1-135 because the

inclusion of Orlando’s juvenile record information in an affidavit submitted to the Augusta

County Circuit Court in support of a search warrant application does not qualify as an unlawful

dissemination. Rather, Smith and Jenkins disclosed this information to the court as part of

their law enforcement investigative duties. See Va. Code Ann. § 19.2-389.1 (permitting juvenile

record information to be disseminated to Virginia law enforcement for the “purposes of the

administration of criminal justice”). Additionally, Orlando has not alleged that Smith or

Jenkins acted with gross negligence so as to allow the information in the affidavit to spread

beyond its permissible criminal justice use. See Thomas v. Payne, 69 Va. Cir. 51, 52 (Richmond

City 2005) (applying sovereign immunity to preclude Va. Code Ann. § 9.1-135 liability for

sheriff and other police defendants where plaintiff did not allege “sufficient facts to state a

claim of gross negligence”). Accordingly, Count VII is dismissed.

       Next, in Count X, Orlando claims that Smith and the Neal defendants intentionally

inflicted emotional distress upon Orlando by creating the allegedly inaccurate affidavit

identifying Orlando as the aggressor in the alleged sexual abuse between Orlando and Bristol

Neal. See Compl., ECF No. 1, ¶¶ 249-50. Orlando further contends that Smith committed the

tort of intentional infliction of emotional distress by publishing the affidavit. Id. ¶ 251.



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Orlando claims that Smith and the Neals engaged in this conduct despite knowing that the

allegations against Orlando were false and that their actions would cause Orlando to suffer

severe emotional distress. Id. ¶¶ 249, 252.

       To establish a claim for intentional infliction of emotional distress under Virginia law,

a plaintiff must show that:

              One, the wrongdoer’s conduct was intentional or reckless. This
              element is satisfied where the wrongdoer had the specific purpose
              of inflicting emotional distress or where he intended his specific
              conduct and knew or should have known that emotional distress
              would likely result. Two, the conduct was outrageous and
              intolerable in that it offends against the generally accepted
              standards of decency and morality. This requirement is aimed at
              limiting frivolous suits and avoiding litigation in situations where
              only bad manners and mere hurt feelings are involved. Three,
              there was a causal connection between the wrongdoer’s conduct
              and the emotional distress. Four, the emotional distress was
              severe.

Womack v. Eldridge, 215 Va. 338, 342, 210 S.E.2d 145, 148 (1974). “[S]ubstantive claims for

intentional infliction of emotional distress under Virginia law ‘need not be pled [in federal

court] with the degree of specificity required by Virginia courts.’” Faulkner v. Dillon, 92 F.

Supp. 3d 493, 500 (W.D. Va. 2015) (quoting Nelson v. Green, No. 3:06-cv-070, 2014 WL

131055, at *14 (W.D. Va. Jan. 14, 2014)). However, they must still state a plausible claim under

the federal standard. Id.

       Orlando’s intentional infliction of emotional distress claim against the Neals fails

because he has not sufficiently pleaded a causal connection between the Neals’ actions and the

emotional distress that Orlando alleges. The conduct that purportedly harmed Orlando was

Smith’s publication of the affidavit. There is no allegation that the Neals were connected to

this publication, and Count X is accordingly dismissed as to the Neals.


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       Orlando’s claim against Smith also fails. Although Orlando alleges that Smith was

responsible for issuing a press release containing Orlando’s juvenile record information,

Orlando has not alleged facts elevating this action to the level of outrageous and intolerable

conduct. Outrageous and intolerable conduct is conduct “beyond all possible bounds of

decency” or conduct that is “utterly intolerable in a civilized community.” Harris v. Kreutzer,

271 Va. 188, 204, 624 S.E.2d 24, 34 (2006) (internal quotations omitted) (finding that a doctor

verbally abusing a patient was not outrageous). Issuing a press release is not “beyond all

possible bounds of decency”—particularly in the absence of further allegations in the

complaint about to whom, when, and with what detail the press release was issued. Id.

Orlando’s allegation that he suffered severe emotional distress is also conclusory. Orlando

alleges that he suffered “emotional and mental distress, anguish, humiliation, embarrassment,

fright, shock, pain, discomfort, and anxiety.” Compl., ECF No. 1, ¶¶ 249, 252. However, to

state a claim of intentional infliction of emotional distress, a plaintiff must allege more precise

facts indicating emotional distress, such as “objective physical injury caused by the stress” or

that the plaintiff “sought medical attention, . . . was confined at home or in a hospital, or . . .

lost income.” Russo v. White, 241 Va. 23, 28, 400 S.E.2d 160, 163 (1991). Orlando has not

plausibly alleged that he suffered emotional harm “so severe that no reasonable person could

be expected to endure it.” Id. Accordingly, the claim will be dismissed as to Smith as well.

       Count XI, Orlando’s claim for negligent infliction of emotional distress against Smith,

Jenkins, and Rebecca Neal, must also be dismissed. First, sovereign immunity precludes a

claim based on simple negligence against Smith and Jenkins. James, 221 Va. at 53, 282 S.E.2d

at 869. Orlando alleges that Smith and Jenkins “did not sufficiently investigate” the allegations



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against him. Compl., ECF No. 1, ¶ 258. Failing to sufficiently investigate does not rise to the

level of gross negligence, so Count XI must be dismissed as to Smith and Jenkins.

       Moreover, Count XI fails as to all defendants, including Rebecca Neal, because

Orlando has only alleged emotional harm. Negligent infliction of emotional distress claims

must entail either physical impact or alleged emotional disturbance combined with physical

injury that was “the natural result of fright or shock proximately caused by the defendants’

alleged negligence.” Delk v. Columbia/HCA Healthcare Corp., 259 Va. 125, 137-38, 523

S.E.2d 826, 833-34 (2000) (citing Hughes v. Moore, 214 Va. 27, 34, 197 S.E.2d 214, 219

(1973)). Orlando’s allegation that the “severe emotional and mental distress” he suffered was

“the    natural    result[]   of   the     physical   injuries”    caused    by     defendants’

“failure to use due diligence and investigate Defendant BRISTOL NEAL’s claims” is not

plausible. Compl., ECF No. 1, ¶ 260. Nothing in the complaint actually describes any physical

injury, and the notion that information in a search warrant caused a physical impact or physical

injury is implausible. Thus, Count XI is dismissed.

       Orlando seeks punitive damages in Count XII. The recovery of punitive damages is

not a stand-alone cause of action. Rather, an award of punitive damages, if supported by the

evidence, is a remedy for certain claims. Craven v. Novelli, 661 F. Supp. 3d 430, 454-55

(W.D.N.C. 2023) (explaining that a “claim” for punitive damages is not a separate cause of

action). Here, the only claim for which punitive damages may be recovered, if proven at trial,

is Count III’s Section 1983 claim of First Amendment retaliation. Id. (stating that punitive

damages may sometimes be available against individual Section 1983 defendants where a jury

could conclude that the officers “engaged in willful, wanton, or grossly negligent conduct”).



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Because Orlando’s claim for punitive damages is a remedy recoverable, if proven, for breach

of Count III, Count XII will be dismissed as moot.

       In Count XIII, Orlando alleges that Smith committed defamation per se by publishing

the affidavit used to support the search warrant “with local news organizations,” either

knowing its contents were false or with reckless disregard for their truth. Id. ¶¶ 267-84. To

prove defamation in Virginia, a plaintiff must show “(1) a publication of (2) an actionable

statement with (3) the requisite intent.” Jordan v. Kollman, 269 Va. 569, 575, 612 S.E.2d 203,

206 (2005). “Words that are defamatory per se include ‘[t]hose which impute to a person the

commission of some criminal offense involving moral turpitude.’” Young v. Perry, No.

4:16-cv-060, 2017 WL 836036, at *4 (W.D. Va. Mar. 2, 2017) (quoting Tronfeld v. Nationwide

Mut. Ins. Co., 272 Va. 709, 713, 636 S.E.2d 447, 449-50 (2006)). A statement accusing Orlando

of committing sexual assault would thus be defamatory per se.

       However, “the maker of an absolutely privileged communication is accorded complete

immunity from liability even though the communication is made maliciously and with

knowledge that it is false.” Linderman v. Lesnick, 268 Va. 532, 537, 604 S.E.2d 55, 58 (2004).

This privilege “is broad in scope and applies to communications made in proceedings pending

in a court or before a quasi-judicial body,” and the communication “need only be relevant and

pertinent to the case to be protected by the privilege.” Id. Here, Orlando alleges that the

defamatory comments were part of an affidavit submitted in support of a search warrant—

plainly a communication made in a proceeding pending before a court. See Darnell v. Davis,

190 Va. 701, 708, 58 S.E.2d 68, 71 (1950) (applying absolute privilege to a written request for

the dismissal of a warrant); Daniczek v. Spencer, 156 F. Supp. 3d 739, 752-53 (E.D. Va. 2016)



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(concluding that statements made in a warrant affidavit are covered be absolute privilege under

Virginia law). Accordingly, the statements in the affidavit are protected.

       Smith’s subsequent publication of the affidavit “with local news organizations” did not

vitiate absolute privilege in this case because at the time of publication, the affidavit was already

a public record. Some courts have held that absolute judicial privilege does not extend to re-

publication of privileged material in the press. See Williams v. Kenney, 379 N.J. Super. 118,

135, 877 A.2d 277, 287 (N.J. Super. Ct. App. Div. 2005) (internal quotations omitted)

(“Otherwise, a person could file defamatory statements in a judicial proceeding with impunity

and then proceed to republish [them] at will under the cloak of immunity.”); Pisharodi v.

Barrash, 116 S.W.3d 858, 864 (Tex. App. 2003) (“Although libelous statements made in

connection to a judicial proceeding are absolutely privileged, re-publication of such statements

outside of the judicial context waives the privilege.”). However, under Virginia law, warrant

affidavits are generally open to the public after the warrant is executed or 15 days after

issuance, whichever comes earlier. Va. Code Ann. § 19.2-54. The warrant here was also

temporarily sealed until October 5, 2022. 47 South Windsong Court Search Warrant, ECF No.

108-1 at 25. Thus, the warrant became available to the public when it was both executed and

unsealed on October 5. Compl., ECF No. 1, ¶ 169. Orlando alleges the warrant was published

to the local press “following the execution of the warrant,” Id. ¶ 267, which would mean that

the affidavit was published after October 5—when it was already properly available for

“inspection by the public,” Va. Code Ann. § 19.2-54. A defamation claim cannot be based on

the re-publication of information that is already a matter of public record. Alexandria Gazette

Corp. v. West, 198 Va. 154, 159-60, 93 S.E.2d 274, 279 (1956) (“The publication of public



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records to which everyone has a right of access is privileged, if the publication is a fair and

substantially correct statement of the transcript of the record.”). Thus, because absolute

privilege applies to the statements in the affidavit itself and because the affidavit was not

shared with the press until it was already a public record, Count XIII must be dismissed.

       In Count XIV, Orlando alleges that Smith and Jenkins engaged in a civil conspiracy in

violation of Va. Code Ann. §§ 18.2-499 and 18.2-500. However, Smith and Jenkins are entitled

to intracorporate immunity. The doctrine “deems multiple defendants a single entity for the

purpose of analyzing a civil conspiracy claim if such defendants are employees or agents of

the same entity and are acting within the scope of their employment/agency.” Vollette v.

Watson, 937 F. Supp. 2d 706, 727 (E.D. Va. 2013). Here, Smith and Jenkins both worked for

the Augusta County Sheriff’s Office, and they spoke with August County residents wishing to

report criminal activity and pursued the search warrant for 47 South Windsong Court as part

of their official duties. Accordingly, they are protected by intracorporate immunity. See also

Misjuns v. Lynchburg Fire Dep’t, No. 6:21-cv-025, 2023 WL 3026727, at *9 (W.D. Va. Apr.

20, 2023) (finding that intracorporate immunity shielded several Lynchburg city officials from

a civil conspiracy claim under Virginia law). Additionally, Orlando has not alleged any facts

pointing to an agreement between Smith and Jenkins and the Neal defendants or to an attempt

by Smith and Jenkins to procure the participation of the Neal defendants in their investigation.

Va. Code Ann. § 18.2-499. To the contrary, according to the warrant affidavit, it was the Neals

who “requested an in-person meeting” with Sheriff Smith to report sexual abuse. 47 South

Windsong Court Search Warrant, ECF No. 108-1 at 8. Count XIV is thus dismissed.




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                                              IX.

      For the reasons stated above, the motion to dismiss is GRANTED in part and

DENIED in part. Counts I, II, VII, VIII, X, XI, XII, XIII, and XIV are DISMISSED, and

the motion is DENIE D as to Count III.

      All claims against Rebecca Neal and Bristol Neal in this case are DISMISSED, and

Rebecca Neal and Bristol   eal are DISMISSED as defendants in this case.

      An appropriate order will be entered.




                                                      Senior United States District Judge




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